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                  EXHIBIT 19
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    z                     DEPARTMENT      OF HEALTH    & HUMAN     SERVICES                           Office   of Inspector   General
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                           DEC       6 19!36                                                          Memorandum
                Date      9k4w?-’&
                          June Gibbs Brown
                From P    Inspector General

                Subject
                          Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid
                          Prescription Drug Program of the New Jersey Department of Human Services
                          (A-06-95-OO070)
                To

                          Bruce C. Vladeck
                          Administrator
                          Health Care Financing Administration


                          Attached for your information and use is our final report entitled, “Review of
                          Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription
                          Drug Program of the New Jersey Department of Human Services.” This review was
                          conducted as part of a nationwide audit of pharmacy drug acquisition costs at the
                          Health Care Financing Administration’s request. Most States reimburse pharmacies for
                          Medicaid prescriptions using a formula which generally discounts the average
                          wholesale price (AWP) by 10.5 percent. The objective of our review was focused on
                          developing an estimate of the discount below AWP at which pharmacies purchase
                          brand name and generic drugs.

                          The New Jersey Department of Human Services (State Agency) was 1 of 11 States
                          randomly selected as part of the nationwide review. New Jersey reported drug
                          expenditures of $333.9 million in Calendar Year 1994.

                          Through statistical sampling, we obtained pricing information from 14 New Jersey
                          pharmacies. We obtained 462 invoice prices for brand name drugs, and 192 invoice
                          prices for generic drugs. The overall estimate of the extent that AWP exceeded
                          pharmacy purchase invoice prices was 19.8 percent for brand name drugs and
                          39.9 percent for generic drugs. The national estimates are 18.3 percent and
                          42.5 percent, respectively. The estimates combine the results for four categories of
                          pharmacies including rural-chain, rural-independent, urban-chain, and urban-
                          independent pharmacies. The estimates exclude the results obtained from
                          non-traditional pharmacies (nursing home pharmacies, hospital pharmacies, home IV,
                          etc.) because such pharmacies purchase drugs at substantially greater discounts than
                          retail pharmacies, and including them would have inappropriately   inflated our
                          percentages.
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Page 2- Bruce C. Vladeck

We are “recommending        that the State Agency   consider the results of this review          as a
factor in any fiture changes to pharmacy reimbursement              for Medicaid    drugs.
In response to our draft report, the Commissioner        of the State Agency        stated that they
have lowered     Medicaid    drug reimbursement     from AWP        minus 2 to 8 percent based on
a pharmacy’s     prescription volume to a flat AWP      minus 10 percent for all pharmacies.
The Commissioner        indicated that results of our review    provided      support for their
decision to change their reimbursement        methodology.      The complete       text of the
Commissioner’s       comments are included in Appendix         4.


We welcome any comments you have on this New Jersey State report. If you have any
questions, call me or have your staff contact George M. Reeb, Assistant Inspector
General for Health Care Financing Audits, at (410)786-7104.

To facilitate   identification,   please refer to Common     Identification    Number
A-06-95-00070.


Attachment
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 Department of Health and Human Services

            OFFICE OF
       INSPECTOR GENERAL




REVIEW OF PHARMACY                              ACQUISITION        COST
   FOR DRUGS REIMBURSED UNDER THE
 MEDICAID PRESCRIPTION DRUG PROGRAM
          OF THE NEW JERSEY
    DEPARTMENT OF HUMAN SERVICES




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                 <                       Inspector   General
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                                           SUMMARY

A     t the request of the Health Care Financing Administration (HCFA), the OffIce of Inspector
      General (OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
reimbursed under the Medicaid prescription drug program. Since most States reimburse
pharmacies for Medicaid prescriptions using a formula which discounts the average wholesale
price (AWP), the objective of our review was to develop an estimate of the discount below AWP
at which pharmacies purchase brand name and generic drugs.

To accomplish our objective, we selected a random sample of 11 States from a universe of 48
States and the District of Columbia. Arizona was excluded from the universe of States because
the Medicaid drug program is a demonstration project using prepaid cavitation financing and
Tennessee was excluded because of a waiver received to implement a statewide managed care
program for Medicaid. New Jersey was one of the sample States selected, as well as California,
Delaware, District of Columbia, Florida, Maryland, Missouri, Montana, Nebraska,
North Carolina, and Virginia.

Addhionally, we selected a sample of Medicaid pharmacy providers from each State and
obtained invoices of their drug purchases. The pharmacies were selected from each of five
categories--rural-chain, rural-independent, urban-chain, urban-independent, and non-traditional
pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the
non-traditional category so as to be able to exclude those pharmacies from our overall estimates.
We believed such pharmacies purchase drugs at substantially greater discounts than retail
pharmacies, and including them would have inflated our percentages.

We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
by which the invoice price was discounted below AWP. We then projected those differences to
the universe of pharmacies in each category for each State and calculated an overall estimate for
each State. Additionally, we projected the results from each State to estimate the nationwide
difference between AWP and invoice price for each category.

In New Jersey, we obtained pricing information from 14 pharmacies. Specifically, we obtained
462 invoice prices for brand name drugs, and 192 invoice prices for generic drugs. For
New Jersey, the overall estimate of the extent that invoice prices were discounted below AWP
was 19.8 percent for brand name drugs and 39.9 percent for generic drugs. The national
estimates are 18.3 percent and 42.5 percent respectively. The national estimates combine the
results for four categories of pharmacies including rural-chain, rural-independent, urban-chain,
and urban-independent. The New Jersey estimates do not include any rural categories. None of
the estimates include the results obtained from non-traditional pharmacies.



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We are recommending         that the New Jersey Department       of Human Services     (State Agency)
consider the results of this review     as a factor in any fiture   changes to pharmacy reimbursement
for Medicaid    drugs.    We will share the information     with HCFA    from all 11 States in a
consolidation    report for their use in evaluating the overall Medicaid       drug program.


The Commissioner         of the State Agency    responded to our draft report in a letter dated,
October    30, 1996. The Commissioner          stated that the State Agency    had lowered     Medicaid    drug
reimbursement        from AWP   less 2 to 8 percent, based on a pharmacy’s       prescription    volume,   to a
flat AWP     less 10 percent for all pharmacies.     The Commissioner     indicated that results of our
review    provided    support for their decision to change reimbursement        methodology.      The complete
text of the Commissioner’s       comments are included in Appendix        4.




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 Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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                                       INTRODUCTION
At the request of HCFA, OIG, Office of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the New
Jersey Department of Human Services (State Agency). The objective of our review was to
develop an estimate of the difference between the actual acquisition costs of drugs and AWP.
This review was conducted as a part of a nationwide review of pharmacy acquisition costs.
New Jersey was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
‘reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medispan or the Blue Book--publications universally used in the pharmaceutical industry.
Prior to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs.
However, OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs
for 15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
1989 reports combined brand name and generic drugs in calculating the percentage discounts and
included a comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual further provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once again, determine the difference between
AWP and actual pharmacy acquisition cost.


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The State Agency reported drug expenditures of $333.9 million in Calendar Year (CY) 1994.

SCOPE

Our review was performed in accordance with generally accepted government auditing standards.
The objective of our review was to develop an estimate of the difference between AWP and the
actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
providers. Our objective did not require that we identi~ or review any internal control systems.

Our review was limited to ingredient acquisition costs and did not address other areas such as:
the effect of Medicaid business as a contribution to other store sales; the cost to provide
professional services other than dispensing a prescription such as therapeutic interventions,
patient education, and physician consultatio~ and the cost of dispensing which includes costs for
computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
administrative costs, and general overhead. We also did not take into consideration the effect of
Federal upper limit amounts on generic drug reimbursements or usual and customary charge
limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
reimbursements in a subsequent review.

We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
Agency was responsible for classifying each pharmacy as chain, independent, or non-traditional.
For purposes of this review, a chain was defined as four or more pharmacies with common
ownership. We determined whether each pharmacy was rural or urban by comparing the county
location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
components. Our sample design was for a sample of 12 pharmacies from each of 5 strata. The
five strata of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent,
and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). New Jersey
had no rural areas and the State Agency excluded the non-traditional pharmacies from the listing
they provided us. Therefore, we selected a stratified random sample of 24 pharmacies with
12 pharmacies selected from each of 2 strata--urban-chain and urban-independent.

We requested, from each pharmacy selected, the largest invoice from each different source of
supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
Each pharmacy was initially assigned a month from January through September in order to        L
provide a cross-section of this 9-month time period. However, we permitted some pharmacies to
provide invoices from October or November as invoices were not available from the earlier
period.




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We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
the invoices contained the information necessary for our review. We eliminated over-the-counter
items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain
AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
Book, a nationally recognized reference for drug product and pricing ifiormation, to obtain
NDCS or identi~ over-the-counter items. One prominent wholesaler, whose invoices contained
that wholesaler’s item number rather than NDCS, provided us with a listing that converted their
item number to an NDC. If we were unable to identifi the NDC for a drug, we eliminated the
drug. Tlis was a common occurrence for generic drugs where there was no indication on the
invoice as to the manufacturer of the drug.

We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
We used that listing to classi~ each drug on the invoices as brand or generic. If a drug was not
on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
Additionally, we obtained drug expenditure information from HCFA-64 Reports.

The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
each drug. We compared the invoice drug price to AWP for each drug and calculated the
percentage, if any, by which the invoice price was discounted below AWP. If a drug from an
invoice was not on the pricing file we eliminated that drug.

An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
pharmacy representatives from the sample States. At this meeting, we presented a methodology
for petiorming the review and the methodology was refined with input from the State
representatives. At a follow-up meeting held in Richmond, Virginia, on September 27-28,
1995, we presented the results of our review with the sample States.

We used OAS statistical computer software to calculate all estimates as well as to generate all
random numbers. We did not independently veri~ any itiormation obtained from third party
sources. Our review was conducted by our Little Rock, Arkansas OAS field office with
assistance from our OAS Field OffIces in Baton Rouge, Louisian~ and Austin, Texas from
September 1994 to September 1995.




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                                                      FINDINGSAND RECOMMENDATIONS
BRAND                   NAME                          DRUGS


We estimate that invoice prices for brand name drugs were discounted 19.8 percent below
AWP. The estimate combined both pharmacy categories and was based on the comparison to
AWP of 462 invoice prices received from 14 pharmacies. The standard deviation for this
estimate was 1.98 percent (see Appendix 2).

The estimates by individual categories for brand name drugs are summarized in the following
table:

                                                                                      Estimated                   Difference



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                                        .. ....                                                                                                                                   ~ =..=.....
                                                                                                         19.5”””       ““ ““”””*”Q”.=’

           20




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           15


           10


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                                                                                                                                                                                    No”     T)




Me following table shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.


                                                                                          Number             of                                       =ri=~=              from
                                                                     Sample                        Fharmacie3s                        Sample                       Pharmacies



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GENERIC                DRUGS


We estimate that invoice prices for generic drugs were discounted 39.9 percent below AWP.
Once again the estimate combined both pharmacy categories. The estimate was based on the
comparison to AWP of 192 invoice prices received from 13 pharmacies. The standard
deviation for this estimate was 3.55 percent (see Appendix 2).

The estimates that invoice prices for generic drugs were discounted below AWP are
summarized by individual categories in the following table:



                                                             Estimated                     Difference



          50
                   /


          40



          30


          20


          10                         NA               NA                                                                          NA


           0
                   /                                                                                                                                                   /
                             Rurml                    R“rmi                  Urbmn                     Urb.       n         Ncan-Trmdltlonml             overall
                             Chml”               l“dmpend*nt                 Chral”            lndi3p6.       ndc?nt              (No”     T)         (Exclualna
                                                                                                                                                          Nan-r)




The following table shows the number of pharmacies sampled and the number of prices
reviewed by individual category for the generic drugs.

                                                        Number     of                                                       Prices       from
                                               Sample       Pharmacies                                        Sample                 Pharmacies



               Rural-Chain




                                                      ~a~oo
Rural-Independent


           Urban-Chain


Urban-Independent


    Non-_’l_radltlonal
                                                                                      NA
                                                                                                   [......    I   .
                                                                                                                       NA



Overall        (Exc.   Non      T)
                                      v                                                            v                                                               /
                                          is            10               6                     0               60           700          160    200            260




   Review of P@rrnacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                               of the New Jersey Department of Human Services
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                       CONCLUSIONS AND RECOMMENDATION
Based on our review, we have determined that there is a significant difference between AWP and
pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
significantly greater for generic drugs than for brand name drugs. In general, State
representatives believed that the review supported current State practices to establish pharmacy
reimbursement for ingredient cost at levels below AWP.

We recognize       that acquisition   cost is just one factor in pharmacy reimbursement       policy       and that
any change to that policy       should also consider the other factors discussed in the Scope section of
our report.     Additionally,   the effect of Federal upper limit amounts on generic drug
reimbursements         or usual and customary charge limitations     should be taken into consideration.
However,      a change in any of the factors affecting      pharmacy reimbursement      could have a
significant    impact on expenditures        because of the size of the program   ($333.9 million)     in
New   Jersey.     We believe    that the difference   between AWP    and pharmacy     acquisition    costs as
determined      by our review    is significant   enough to warrant consideration   by the State in any
evaluation     of the drug program.     Therefore,    we recommend    that the State Agency    consider the
results of this review      in determining    any future changes to pharmacy reimbursement           for
Medicaid      drugs.


STATE AGENCY COMMENTS

The Commissioner of the State Agency responded to our draft report in a letter dated,
October 30, 1996. The Commissioner stated that the State Agency had lowered Medicaid drug
reimbursement from AWP less 2 to 8 percent, based on a pharmacy’s prescription volume, to a
flat AWP less 10 percent for all pharmacies. The Commissioner indicated that results of our
review provided support for their decision to change reimbursement methodology. The complete
text of the Commissioner’s comments are included in Appendix 4.




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                                                                      APPENDIXl
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                             SAMPLE DESCRIPTION


Sample Objectives:

      Develop an estimate of the extent of the discount below Average Wholesale Prices
      (AWP) of actual invoice prices for Medicaid pharmacies in New Jersey for brand name
      drugs and for generic drugs.

Population:

      The sampling population was pharmacy providers participating in the Medicaid
      prescription drug program of the State Agency.

Sampling Frame:

      The sampling frame was a listing of all pharmacy providers participating in the Medicaid
      prescription drug program.

Sample Design:

     A sample of 12 pharmacies was to be selected from each of 5 strata. The five strata of
     pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
     non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.) However,
     New Jersey had no rural areas and the State Agency excluded the’non-traditional
     pharmacies from the listing they provided us. Therefore, we selected a stratified random
     sample of 24 pharmacies with 12 pharmacies selected iiom each of 2 strata -- urban-chain
     and urban-independent. Each pharmacy was assigned a month from 1994 for which to
     provide invoices. All pharmacies were initially assigned a month from January through
     September in a method designed to provide a cross-section of the 9-month period.
     However, some pharmacies were permitted to submit invoices from October or
     November as invoices were not available for the month originally assigned. The largest
     invoice from each of four different sources of supply was requested. The sources of
     supply were identified as wholesalers, chain warehouse distribution centers, generic
     distributors, and direct manufacturer purchases. All invoice prices were compared to
     AWP.



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Sample Size:

      Twelve pharmacies were selected from each stratum for a total of 24 pharmacies.

Source of Random Numbers:

      OAS statistical sampling software was used to generate the random numbers.

Characteristics to be Measured:

      From our review of the pharmacy invoices, we calculated the percentage of the discount
      below AWP of actual invoice prices for all drugs on the invoices submitted.

Treatment of Missing Sample Items:

      No spare was substituted for a pharmacy that did not provide information. If a pharmacy
      did not send an invoice for a particular type of supplier, we assumed that the pharmacy
      did not purchase drugs from that type of supplier during the month assigned to the
      pharmacy.

Estimation Methodology:

      We used OAS Statistical Soflsvare to project the percentage difference between AWP and
      actual invoice prices for each stratum, as well as an overall percentage difference. The
      overall percentage difference excluded the non-traditional pharmacies. The projections
      were done separately for brand name drugs and generics.

Other Evidence:

      We obtained AWP from First DataBank.




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                                                              APPENDIX 2
                    NEW JERSEY SAMPLE RESULTS
                  BRAND NAME AND GENERIC DRUGS




RURAL-CHAIN                N!         N1      NP        NP        N}
                                                                        m  NP


RURAL-INDEPENDENT          NP         N1      NP        N,J       N)       NP


uRBAN-cHAtN                81;        24     19.!      1.7(     18.2!    20.8:


URBAN-NllEPENDENT        1,27(        21!    19.5      9.6      14.6:    25.1$


NON-TRADITIONAL            NA         N)     NA        NA         NA       NA


OVERALL(EXCL.NON-TRAD]   2,08;        4(s    19.$      1.9$     16.51    23.02




RURAL-CHAIN                NA    NA   NA     NA        NA        NA       NA


RURAL-INDEPENDENT          NA    NA   NA     NA        NA        NA       NA


uRBAN-cHAIN               817     4    92    41.7     12.26     31.64    51.76


URBAN-INDEPENDENT        1~70     9   100    38.7     12.98     31.61    45.79


NON-TRADITIONAL           NA     NA   NA     NA        NA        NA       NA


OVERALL(EXCL.NON-TRAD)   2.087   13   192    39.9      3.55     34.03    45.72
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                                                               APPENDIX 3
               NATIONWIDE             SAMPLE RESULTS
              BRAND NAME AND GENERIC DRUGS




                            I         I           I
                    1,095        73       5,723       17.4C   1.05    15.67   19.13


                    1,499        78       3,043       16.3$   I .07   14.63   18.15


                    8,194        73       7,198       18.45   0.52    17.60   19.31


                    6,242        91       3,009       18.71   0.90    17.22   20.19


                    2,026        66        1,762      27.52   2.28    23.76   31.27


                   17,030       315       18,973      18.3C   0.66    17.21   19.38




                    1,095        73       2,963       47.51   1.63    44.82   50.20


                    1,499        78       1,798       47.38   0.93    45.85   48.92


                    8,194       72        2,634       37.61   2.82    32.97   42.26


                    6,242       91        1,680       46.72   2.44    42.70   50.73


                    2,026       59        1J62        57.70   1.98    54.43   60.96


                   17,030       314       9,075       42.45   0.90    40.97   43.93
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CmxsTxI&         TODD      WHITMAN                                                                                                           WU.LIAMWALDA4AN
                COvcrnor                                                                                                                        COmmiuionn
                                                                                            October 30, 1996                                  TEL (609) 292-3717




                           M. Ben Jackson, Jr., Acting Director
                           Operational and Program Reviews
                           Health Care Financing Audit Division
                           Office of the Inspector General
                           Department of Health and Human Services
                           Washington,    D.C. 20201

                           Dear Mr. Jackson:

                           This is in response to your letters of April 18, 1996 and September 27, 1996,
                           requesting   comments from the New Jersey Department       of Human Services
                           concerning the outcome of the “Review of Pharmacy Acquisition Costs For
                           Drugs Reimbursed Under The Medicaid Prescription Drug Program For The New
                           Jersey Department of Human Services,” dated April 1996.      I apologize for the
                           extended delay in the Department’s response.

                           I requested Edward J. Vaccaro, R.Ph., Assistant Director for the Office of Health
                           Service Administration,    New Jersey Division of Medical Assistance and Health
                           Services (DMAHS), to review the draft document provided by your office. Based
                           on his participation in the project and his review of the report, he has determined
                           that the report accurately reflects information provided by the State, and agrees
                           with its conclusions.

                        For your information,       the conclusions    of this review were helpful to the
                        Department which implemented a change in Medicaid reimbursement               for drug
                        costs, effective July 15, 1996.     The former Medicaid reimbursement      formula of
                        Average Wholesale       Price (AWP) less 2 to 8 percent, based on a pharmacy’s
                        prescription   volume, was reduced to a flat AWP less 10 percent for all
                        phamnacies.     In addition, similar reimbursement for pharmacy services revered
                        by the Department of Health and Senior Services’ Pharmaceutical        Assistance to
                        the Aged and Disabled (PAAD) program was also reduced from AWP less O to 6
                        percent to the same flat percentage.      I appreciate the timeliness of your review,
                        and the support it lended to our decision to change our fee-for-sefvica
                        reimbursement.




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      Again, I apologize for any inconvenience   the delay in the Department’s   response
      may have -caused your office.     If you require any future assistance,   or further
      information, please do not hesitate to contact Velvet G. Miller, Director, DMAHS,
      at (609) 588-2600,  or Mr. Vaccaro at (609) 588-2726.

                                                Sincerely,




                                                William Waldman
                                                Commissioner
      VWV2
      c Velvet G. Miller
        Karen 1. Squarrell
        Edward J. Vaccaro,    R. Ph.
